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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, DANIEL A. SMITH, JEFFREY :
GOLDHAGEN, TERESA J. REID, and                                       :
KENNETH B. NUNN,                                                     : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and on behalf of the University of Florida; W.                       :
KENT FUCHS, in his official capacity as                              :
President of the University of Florida; JOSEPH :
GLOVER, in his official capacity as Provost of :
the University of Florida; and LAURA                                 :
ROSENBURY, in her official capacity as Dean of :
the Fredric G. Levin College of Law,                                 :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
                                     JOINT STATUS REPORT
       Pursuant to this Court’s Initial Scheduling Order dated December 2, 2021

(ECF No. 25), the parties respectfully submit this joint status report on the progress

of discovery. The parties held the Rule 26(f) conference on January 3, 2022.

       Plaintiffs served their First Request for Production of Documents to

Defendants on December 27, 2021. These requests are outstanding. Thus far, the

Defendants have not served any discovery requests on the Plaintiffs.
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                                         Respectfully submitted.

Dated: January 3, 2022


/s/ David A. O’Neil
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